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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


In Re: AUTOMOTIVE PARTS                  )   Master File No. 12-md-02311
ANTITRUST LITIGATION                     )   Honorable Marianne O. Battani
                                         )
                                         )
______________________________________   )
                                         )
In Re:                                   )
                                         )
AUTOMOTIVE CONSTANT-VELOCITY-            )
JOINT BOOT PRODUCTS CASES                )   Jury Trial Demanded
                                         )
                                         )
______________________________________   )
                                         )
THIS RELATES TO:                         )   Case No. ________________
                                         )
GROUP 1 AUTOMOTIVE, INC. AS              )
ASSIGNEE ON BEHALF OF GROUP 1            )
AUTOMOTIVE WHOLLY-OWNED                  )
SUBSIDIARY DEALERSHIPS,                  )
ASBURY AUTOMOTIVE GROUP, INC.            )
AS ASSIGNEE ON BEHALF OF                 )
ASBURY AUTOMOTIVE WHOLLY-                )
OWNED SUBSIDIARY DEALERSHIPS,            )
VAN TUYL GROUP, LLC AS ASSIGNEE          )
ON BEHALF OF ASSIGNOR                    )
DEALERSHIPS, AND MAJOR                   )
AUTOMOTIVE COMPANIES, INC.               )
AS ASSIGNEE ON BEHALF OF                 )
MAJOR AUTOMOTIVE WHOLLY-OWNED            )
SUBSIDIARY DEALERSHIPS,                  )
BRONX FORD, INC., AND                    )
CITY WORLD MOTORS, LLC,                  )
                                         )
                   Plaintiffs.           )
                                         )
v.                                       )
                                         )
TOYO TIRE & RUBBER CO., LTD.,            )
TOYO AUTOMOTIVE PARTS (USA), INC.,       )
TOYODA GOSEI CO., LTD., TOYODA           )



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GOSEI NORTH AMERICA CORP.,                        )
AND TG KENTUCKY, LLC,                             )
                                                  )
                        Defendants.               )

                            PLAINTIFFS’ ORIGINAL COMPLAINT

         Plaintiffs Group 1 Automotive, Inc. as Assignee on Behalf of Group 1 Automotive

Wholly-owned Subsidiary Dealerships, Asbury Automotive Group, Inc. as Assignee on Behalf

of Asbury Automotive Wholly-owned Subsidiary Dealerships, Van Tuyl Group, LLC                     as

Assignee on Behalf of Assignor Dealerships, and           Major Automotive Companies, Inc. as

Assignee on Behalf of Major Automotive Wholly-owned Subsidiary Dealerships, Bronx Ford,

Inc., and City World Motors, LLC (collectively, “Plaintiffs”) file this Original Complaint (the

“Complaint”), on behalf of themselves, against Toyo Tire & Rubber Co., Ltd., Toyo Automotive

Parts (USA), Inc. (collectively, “Toyo”), Toyoda Gosei Co., Ltd., Toyoda Gosei North America

Corp. (“TGNA”), and TG Kentucky, LLC (collectively, “Toyoda Gosei”). Toyo and Toyoda

Gosei are collectively referred to herein as “Defendants.” For their Complaint, Plaintiffs state as

follows:

      I. NATURE OF ACTION

         1.      The global conspiracy to fix the prices of various automotive parts in violation of

multiple countries’ antitrust laws has resulted in the “biggest criminal antitrust investigation that

[the Department of Justice has] ever encountered…with respect to the impact on U.S. business

and consumers, and the number of companies and executives that are subject to the

investigation.”1    The United States alone has levied billions of dollars in fines and multiple

companies and executives have pled guilty to various antitrust charges. Dozens of civil lawsuits



1
    https://www.law360.com/articles/416139/doj-widens-antitrust-probe-into-auto-parts-industry.



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have been filed as well, including several class actions from both direct purchaser and indirect

purchasers of dozens of automotive parts. This action concerns the conspiracy to unlawfully fix

the prices of Automotive Constant-Velocity-Joint Boot Products and the substantial harm that

conspiracy has caused Plaintiffs, who comprise some of the largest groups of automobile

dealerships in the country.

       2.       Automotive Constant-Velocity-Joint Boot Products are protective rubber or

plastic components covering the constant-velocity joints in vehicles to protect those joints from

contaminants.

       3.       Automotive Constant-Velocity-Joint Boot Products are essential components of

modern automobiles. As explained further below, Defendants control a significant portion of the

market and, therefore, were able to engage in a massive price-fixing conspiracy against the

global automotive industry for over a decade. Defendants’ conduct raised the prices of vehicles

containing Automotive Constant-Velocity-Joint Boot Products.                The harm Defendants

intentionally caused to Plaintiffs and others is substantial and constitutes an antitrust injury under

both federal and state laws as set forth below.

       4.       Plaintiffs bring this action to recover for this harm for Automotive Constant-

Velocity-Joint Boot Products and/or vehicles containing Automotive Constant-Velocity-Joint

Boot Products purchased by Plaintiffs, manufactured by Defendants or any co-conspirator,

during the period from January 1, 2006 to the present (the “Relevant Time Period”).

   II. JURISDICTION AND VENUE

       5.       This action arises under Section 16 of the Clayton Act (15 U.S.C. § 26) for

Defendants’ violation of Section 1 of the Sherman Act (15 U.S.C. § 1). Thus, this Court has

subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337. Plaintiffs also assert various




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state law claims. This Court has subject matter jurisdiction over the state law claims in this

action pursuant to 28 U.S.C. §§ 1332(a) and 1367 as Plaintiffs and Defendants are citizens of

different states and the matter in controversy exceeds $75,000 exclusive of interests and costs.

        6.      Venue is proper in this district pursuant to Section 12 of the Clayton Act (15

U.S.C. §22), and 28 U.S.C. §§1391 (b), (c), and (d), because a substantial part of the events

giving rise to Plaintiffs’ claims occurred in this district, a substantial portion of the affected

interstate trade and commerce discussed below has been carried out in this district, and one or

more of the Defendants reside, are licensed to do business in, are doing business in, had agents

in, or are found or transact business in this district.

        7.      This Court has jurisdiction over each Defendant because each either directly or

through the ownership and/or control of its United States subsidiaries: (a) transacted business in

the United States, including in this district; (b) directly or indirectly sold or marketed substantial

quantities of Automotive Constant-Velocity-Joint Boot Products designed for vehicles to be sold

throughout the United States, including in this district; (c) had substantial aggregate contacts

with the United States as a whole, including in this district; (d) colluded with conspirators who

engaged in conspiratorial conduct in the United States, including in this district; and/or (e) was

engaged in an illegal price-fixing conspiracy that was directed at, and had a direct, substantial,

reasonably foreseeable and intended effect of causing injury to, the business or property of

persons and entities residing in, located in, or doing business throughout the United States.

Defendants also conduct business throughout the United States, including in this district, and

they have purposefully availed themselves of the laws of the United States and this district.

        8.      Defendants engaged in conduct both inside and outside of the United States that

caused direct, substantial, reasonably foreseeable and intended anti-competitive effects upon




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interstate commerce within the United States, and upon import trade and commerce within the

United States.

       9.        The activities of Defendants and their co-conspirators were within the flow of,

were intended to, and did have, a substantial effect on interstate commerce of the United States.

Defendants’ products are sold in the flow of interstate commerce.

       10.       Automotive Constant-Velocity-Joint Boot Products manufactured abroad by

Defendants and sold for use in automobiles either manufactured in the United States or

manufactured abroad and sold in the United States are goods brought into the United States for

sale, and therefore constitute import commerce.         To the extent any Automotive Constant-

Velocity-Joint Boot Products are purchased in the United States, and such Automotive Constant-

Velocity-Joint Boot Products do not constitute import commerce, Defendants’ unlawful activities

with respect thereto, as more fully alleged herein, had, and continue to have, a direct, substantial

and reasonably foreseeable effect on United States commerce. The anticompetitive conduct, and

its effect on United States commerce described herein, proximately caused antitrust injury to

Plaintiffs in the United States.

       11.       By reason of the unlawful activities alleged herein, Defendants substantially

affected commerce throughout the United States, causing injury to Plaintiffs.             Defendants,

directly and through their agents, engaged in activities affecting all states, to fix or inflate prices

of Automotive Constant-Velocity-Joint Boot Products, and that conspiracy unreasonably

restrained trade and adversely affected the market for Automotive Constant-Velocity-Joint Boot

Products.

       12.       Defendants’ conspiracy and wrongdoing injured Plaintiffs who indirectly

purchased Automotive Constant-Velocity-Joint Boot Products and vehicles containing




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Automotive Constant-Velocity-Joint Boot Products.

   III. PARTIES

             a. Plaintiffs

       13.      Plaintiff Group 1 Automotive, Inc. as Assignee on Behalf of Group 1 Automotive

Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal place of

business in Houston, Texas. The wholly-owned subsidiary dealerships identified on the attached

Exhibit A have assigned their claims to Group 1 Automotive, Inc. The dealerships are (or have

been) authorized dealers for at least the following: Audi, BMW, Buick, Chevrolet, Chrysler,

Dodge, Ford, GMC, Honda, Hyundai, Infiniti, Jeep, Kia, Lexus, Lincoln, Mazda, Mercedes-

Benz, Mini, Mitsubishi, Nissan, Plymouth, Pontiac, Porsche, Ram, Scion, Smart, Subaru, Suzuki,

Toyota, Volkswagen, and Volvo. Group 1 Automotive, Inc. as Assignee on Behalf of Group 1

Automotive Wholly-owned Subsidiary Dealerships (hereinafter, “Group 1 Automotive”)

purchases new vehicles containing Automotive Constant-Velocity-Joint Boot Products

manufactured by Defendants and/or replacement parts for Automotive Constant-Velocity-Joint

Boot Products manufactured by Defendants. Group 1 Automotive purchased and received the

Automotive Constant-Velocity-Joint Boot Products and/or vehicles containing Automotive

Constant-Velocity-Joint Boot Products in the following states: California, Florida, Kansas,

Massachusetts, Mississippi, New Hampshire, New Mexico, New York, and South Carolina.

Group 1 Automotive has also displayed, sold, serviced, and advertised its vehicles in those states

during the Relevant Time Period. Accordingly, Group 1 Automotive has been forced to pay

Defendants’ supra-competitive prices. Group 1 Automotive, therefore, has been injured in its

business and/or property as a result of the unlawful conduct alleged herein.

       14.      Plaintiff Asbury Automotive Group, Inc. as Assignee on Behalf of Asbury




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Automotive Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal

place of business in Duluth, Georgia. The wholly-owned subsidiary dealerships identified on the

attached Exhibit B have assigned their claims to Asbury Automotive Group, Inc.              The

dealerships are (or have been) authorized dealers for at least the following: Acura, Audi, BMW,

Buick, Cadillac, Chevrolet, Chrysler, Daewoo, Dodge, Ford, GMC, Honda, Hyundai, Infiniti,

Isuzu, Jaguar, Jeep, Kia, Land Rover, Lexus, Lincoln, Mazda, Mercedes-Benz, Mini, Mitsubishi,

Nissan, Pontiac, Porsche, Toyota, Scion, Subaru, Suzuki, Volkswagen, and Volvo. Asbury

Automotive Group, Inc. as Assignee on Behalf of Asbury Automotive Wholly-owned Subsidiary

Dealerships (hereinafter, “Asbury Automotive”) purchases new vehicles containing Automotive

Constant-Velocity-Joint Boot Products manufactured by Defendants and/or replacement parts for

Automotive Constant-Velocity-Joint Boot Products manufactured by Defendants.             Asbury

Automotive purchased and received the Automotive Constant-Velocity-Joint Boot Products

and/or vehicles containing Automotive Constant-Velocity-Joint Boot Products in the following

states: Arkansas, California, Florida, Missouri, Mississippi, North Carolina, Oregon, and South

Carolina. Asbury Automotive has also displayed, sold, serviced, and advertised its vehicles in

those states during the Relevant Time Period. Accordingly, Asbury Automotive has been forced

to pay Defendants’ supra-competitive prices. Asbury Automotive, therefore, has been injured in

its business and/or property as a result of the unlawful conduct alleged herein.

       15.     Plaintiff Van Tuyl Group, LLC as Assignee on Behalf of Assignor Dealerships is

a Delaware limited liability company with its principal place of business in Irving, Texas. The

assignor dealerships identified on the attached Exhibit C have assigned their claims to Van Tuyl

Group, LLC. The dealerships are (or have been) authorized dealers for at least the following:

Acura, Alpha Romeo, Audi, BMW, Buick, Cadillac, Chevrolet, Chrysler, Dodge, Fiat, Ford,




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GMC, Honda, Hyundai, Infiniti, Jeep, Kia, Lexus, Lincoln, Mazda, Nissan, Subaru, Toyota,

Volkswagen, and Volvo. Van Tuyl Group, LLC as Assignee on Behalf of Assignor (hereinafter,

“VTG”) purchases new vehicles containing Automotive Constant-Velocity-Joint Boot Products

manufactured by Defendants and/or replacement parts for Automotive Constant-Velocity-Joint

Boot Products manufactured by Defendants. VTG purchased and received the Automotive

Constant-Velocity-Joint Boot Products and/or vehicles containing Automotive Constant-

Velocity-Joint Boot Products in the following states: Arizona, California, Florida, Illinois,

Missouri, Nebraska, and New Mexico. VTG has also displayed, sold, serviced, and advertised

its vehicles in those states during the Relevant Time Period. Accordingly, VTG has been forced

to pay Defendants’ supra-competitive prices. VTG, therefore, has been injured in its business

and/or property as a result of the unlawful conduct alleged herein.

       16.     Plaintiff Major Automotive Companies, Inc. as Assignee on Behalf of Major

Automotive Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal

place of business in Long Island City, New York. The wholly-owned subsidiary dealerships

identified on the attached Exhibit D have assigned their claims to Major Automotive Companies,

Inc. The dealerships are (or have been) authorized dealers for at least the following: Chevrolet,

Chrysler, Jeep, and Dodge. Major Automotive Companies, Inc. as Assignee on Behalf of Major

Automotive Wholly-owned Subsidiary Dealerships (hereinafter, “Major Automotive”) purchases

new vehicles containing Automotive Constant-Velocity-Joint Boot Products manufactured by

Defendants and/or replacement parts for Automotive Constant-Velocity-Joint Boot Products

manufactured by Defendants. Major Automotive purchased and received the Automotive

Constant-Velocity-Joint Boot Products and/or vehicles containing Automotive Constant-

Velocity-Joint Boot Products in New York.           Major Automotive has also displayed, sold,




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serviced, and advertised its vehicles in New York during the Relevant Time Period. Accordingly,

Major Automotive has been forced to pay Defendants’ supra-competitive prices.               Major

Automotive, therefore, has been injured in its business and/or property as a result of the unlawful

conduct alleged herein.

       17.     Plaintiff Bronx Ford, Inc. is a Delaware corporation with its principal place of

business in Bronx, New York. Bronx Ford, Inc. operates a dealership under the trade name City

World Ford, formerly known as Bronx Ford Lincoln Mercury, Inc. and doing business as City

World Ford Lincoln Mercury. The dealerships are (or have been) authorized dealers for at least

the following: Ford and Lincoln. Bronx Ford purchases new vehicles containing Automotive

Constant-Velocity-Joint Boot Products manufactured by Defendants and/or replacement parts for

Automotive Constant-Velocity-Joint Boot Products manufactured by Defendants. Bronx Ford

brings claims on behalf of its dealership in New York. Bronx Ford has also displayed, sold,

serviced, and advertised its vehicles in New York during the Relevant Time Period.

Accordingly, Bronx Ford has been forced to pay Defendants’ supra-competitive prices. Bronx

Ford, therefore, has been injured in its business and/or property as a result of the unlawful

conduct alleged herein.

       18.     Plaintiff City World Motors, LLC is a Delaware corporation with its principal

place of business in Bronx, New York. City World Motors, LLC operates a dealership under the

trade name City World Toyota Scion. The dealership is (or has been) an authorized dealer for at

least the following: Toyota and Scion. City World Motors, LLC (hereinafter, “City World

Motors”) purchases new vehicles containing Automotive Constant-Velocity-Joint Boot Products

manufactured by Defendants and/or replacement parts for Automotive Constant-Velocity-Joint

Boot Products manufactured by Defendants. City World Motors brings claims on behalf of its




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dealership located in New York. City World Motors has also displayed, sold, serviced, and

advertised its vehicles in New York during the Relevant Time Period. Accordingly, City World

Motors has been forced to pay Defendants’ supra-competitive prices. City World Motors,

therefore, has been injured in its business and/or property as a result of the unlawful conduct

alleged herein.

             b. Defendants

                  i.      Toyo Defendants

       19.             Defendant Toyo Tire & Rubber Co., Ltd. is a Japanese company with its

principal place of business in Osaka, Japan. Defendant Toyo Tire & Rubber Co., Ltd.– directly

and/or through its subsidiaries, which it wholly owned and/or controlled – manufactured,

marketed and/or sold Automotive Constant-Velocity-Joint Boot Products that were purchased

throughout the United States, including in this District, during the Relevant Time Period.

       20.             Defendant Toyo Automotive Parts (USA), Inc. is a Kentucky corporation with

its principal place of business in Franklin, Kentucky. It is a subsidiary of and wholly owned

and/or controlled by its parent, Toyo Tire & Rubber Co., Ltd. Toyo Automotive Parts (USA),

Inc. – directly and/or through its subsidiaries, which it wholly owned and/or controlled –

manufactured, marketed, and/or sold Automotive Constant-Velocity-Joint Boot Products that

were purchased throughout the United States, including in this District, during the Relevant Time

Period. At all times during the Relevant Time Period, its activities in the United States were

under the control and direction of its Japanese parent, which controlled its policies, sales and

finances.




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                ii.    Toyoda Gosei Defendants

       21.      Defendant Toyoda Gosei Co., Ltd. is a Japanese corporation with its principal

place of business in Aichi, Japan. During the Relevant Time Period, Defendant Toyoda Gosei

Co., Ltd. directly and/or through its subsidiaries – which it wholly owned and/or controlled –

manufactured, marketed, and/or sold Automotive Constant-Velocity-Joint Boot Products that

were sold and purchased throughout the United States, including in this District.

       22.      Defendant Toyoda Gosei North America Corp. is a Michigan corporation with its

principal place of business in Troy, Michigan. It is a subsidiary and wholly owned and/or

controlled by its parent, Toyoda Gosei Co., Ltd. On information and belief, Defendant Toyoda

Gosei North America Corp. marketed and/or sold Automotive Constant-Velocity-Joint Boot

Products that were sold and purchased throughout the United States, including in this District,

during the Relevant Time Period.

       23.      Defendant TG Kentucky, LLC is a Kentucky corporation with its principal place

of business in Lebanon, Kentucky. It is a subsidiary and wholly owned and/or controlled by its

parent, Toyoda Gosei Co., Ltd. On information and belief, Defendant TG Kentucky, LLC

manufactured, marketed and/or sold Automotive Constant-Velocity-Joint Boot Products that

were sold and purchased throughout the United States, including in this District, during the

Relevant Time Period.

             c. Agents and Co-Conspirators

       24.      Each Defendant acted as the principal of or agent for other Defendants with

respect to the acts, violations, and common course of conduct alleged.

       25.      On information and belief, additional persons and entities participated as co-

conspirators with Defendants in the conspiracy and performed acts in furtherance of the




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conspiracy and anti-competitive conduct.         The identities of such persons and entities are

currently unknown.

        26.     Whenever in this Complaint reference is made to any act, deed or transaction of

any corporation or limited liability entity, the allegation means that the corporation or limited

liability entity engaged in the act, deed or transaction by or through its officers, directors, agents,

employees or representatives while they were actively engaged in the management, direction,

control or transaction of the corporation’s or limited liability entity’s business or affairs.

    IV. PROCEDURAL HISTORY

        27.     In the wake of the DOJ’s investigations and criminal convictions described

herein, automobile dealers, buyers, and others began filing class action lawsuits against

automotive parts manufacturers, including Defendants, in United States district courts across the

country on behalf of direct and indirect purchasers of various automobile parts.

        28.     In February 2012, the Panel on Multidistrict Litigation consolidated the existing

actions in the United States District Court for the Eastern District of Michigan, styled In re:

Automotive Parts Antitrust Litigation, 2:12-md-02311. Since the beginning of the MDL,

numerous additional suits alleging price fixing on automobile parts, including Automotive

Constant-Velocity-Joint Boot Products, have been combined.

        29.     In May 2016, the United States District Court for the Eastern District of Michigan

gave final approval for settlements with certain defendants (“First Group” settlements) providing

benefits to eligible automobile dealers related to the massive antitrust conspiracy to fix the prices

of automotive parts. Plaintiffs did not opt-out of the First Group.

        30.     On October 25, 2017, the United States District Court for the Eastern District of

Michigan preliminarily approved the proposed settlement of claims of eligible automobile




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dealerships for automotive parts, including Automotive Constant-Velocity-Joint Boot Products,

against certain defendants (“Third Group” settlements). See Exhibit E.

       31.      On October 18, 2018, the United States District Court for the Eastern District of

Michigan preliminarily approved the proposed settlement of claims of eligible automobile

dealerships for automotive parts, including Automotive Constant-Velocity-Joint Boot Products,

against certain other defendants (“Fourth Group” settlements). See Exhibit F.

       32.      Pursuant to Rule 23, the Court ordered the parties in the class action to provide

notice to the absent class members advising them of, among other things, their right to opt-out of

any of the proposed settlements.

       33.      Plaintiffs properly exercised their right to opt out from the settlements related to

multiple automotive parts in the Second, Third and Fourth Groups, including Automotive

Constant-Velocity-Joint Boot Products, prior to the opt-out deadline provided in the notice.

       34.      As set forth herein, Defendants engaged in a massive, anti-competitive conspiracy

to raise the prices of Automotive Constant-Velocity-Joint Boot Products above competitive

levels. As a result, Plaintiffs, who are automobile dealers, paid supra-competitive prices for

Automotive Constant-Velocity-Joint Boot Products and/or vehicles containing Automotive

Constant-Velocity-Joint Boot Products. Defendants have caused Plaintiffs substantial antitrust

injuries to their business and property. As such, Plaintiffs now bring this action for damages,

injunctive relief, and other relief pursuant to federal antitrust laws and state antitrust, unfair

competition, unjust enrichment and consumer protection laws, and demand a trial by jury.

   V. FACTUAL ALLEGATIONS

             a. The Automotive Constant-Velocity-Joint Boot Products Market

       35.      Defendants manufacture, market, and sell automotive parts including, relevant to




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this lawsuit, Automotive Constant-Velocity-Joint Boot Products. Automotive Constant-Velocity-

Joint Boot Products are protective rubber or plastic components covering the constant-velocity

joints in vehicles to protect those joints from contaminants.

         36.   Defendants supplied Automotive Constant-Velocity-Joint Boot Products to

component manufacturers, referred to as Tier 1 manufacturers, who then supply the Automotive

Constant-Velocity-Joint Boot Products, along with other components, to original equipment

manufacturers (“OEMs”), which are mostly large automotive manufacturers, for installation in

vehicles manufactured and/or sold in the United States. Defendants also supplied Automotive

Constant-Velocity-Joint Boot Products directly to OEMs.

         37.   One such Tier 1 manufacturer whom Defendants’ supplied were US subsidiaries

of GKN plc, a British automotive parts supplier.

         38.   OEMs and Tier 1 manufacturers purchase parts for U.S.-manufactured vehicles

both in Japan and the United States. Before production of a new automobile model begins,

OEMs and Tier 1 manufacturers issue Requests for Quotation (“RFQs”) to automotive parts

suppliers for model-specific parts (such as Automotive Constant-Velocity-Joint Boot Products)

for that model of automobile. In response, automobile parts suppliers submit bids to the OEMs

and Tier 1 manufacturers. The OEMs or Tier 1 manufacturers then select a supplier based on its

bid. Generally, a supplier of a model-specific part is selected for the lifespan of that automobile

model.

         39.   OEMs in turn supply Automotive Constant-Velocity-Joint Boot Products to

automobile dealerships, including Plaintiffs. Plaintiffs indirectly purchase Automotive Constant-

Velocity-Joint Boot Products from Defendants by, for example, purchasing or leasing a new

vehicle containing Automotive Constant-Velocity-Joint Boot Products.




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             b. Defendants’ Conspiracy and Anti-Competitive Conduct

       40.      Defendants colluded and conspired with their co-conspirators to fix the prices of

Automotive Constant-Velocity-Joint Boot Products above competitive levels.                Where

competitors have conspired to fix prices and hinder competition, prices remain the same or even

increase despite the competitors’ costs remaining steady or even decreasing. That is what

happened with Automotive Constant-Velocity-Joint Boot Products.

       41.      Defendants and their co-conspirators entered into and engaged in a combination

and conspiracy to suppress and restrain competition by: (a) agreeing to allocate and rig bids and

RFQ responses on Automotive Constant-Velocity-Joint Boot Products; (b) allocating and rigging

such bids; and (c) submitting rigged and non-competitive bids and RFQ responses for the sale of

Automotive Constant-Velocity-Joint Boot Products installed in vehicles produced by OEMs and

sold in the United States and elsewhere.

       42.      For example, Defendants agreed to allocate and rig bids and responses to RFQs

on Automotive Constant-Velocity-Joint Boot Products from GKN, plc.               This resulted in

Defendants charging inflated prices for Automotive Constant-Velocity-Joint Boot Products,

which inflated prices were passed on to Plaintiffs through OEMs.

       43.      The nature of the Automotive Constant-Velocity-Joint Boot Products market in

the United States is conducive to a price-fixing agreement, and has made collusion particularly

attractive in this market. Specifically, the Automotive Constant-Velocity-Joint Boot Products

market: (1) has high barriers to entry and (2) has inelasticity of demand.

       44.      Where a group has entered into a conspiracy to raise prices above competitive

levels for a particular market, new companies would seemingly use that as an opportunity to

enter that market with more competitive pricing. This is less likely to occur where there are




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significant barriers to entering the market at issue.

       45.     Significant barriers to entry exist in the Automotive Constant-Velocity-Joint Boot

Products. First, a new company would face high start-up costs, including millions of dollar costs

related to manufacturing plants, equipment, energy, transportation, distribution infrastructure,

and customer relationships.

       46.     Additionally, there are regulatory standards relating to Automotive Constant-

Velocity-Joint Boot Products. Compliance with these standards requires knowledge of the

industry and significant engineering expertise, and therefore presents another barrier to entry.

       47.     Additionally, Defendants own several patents related to Automotive Constant-

Velocity-Joint Boot Products. These patents place a significant and costly burden on potential

new entrants, who must avoid infringing the patents when entering the markets with a new

product.

       48.     Finally, OEMs cannot freely swap out one Automotive Constant-Velocity-Joint

Boot Products supplier for another. Automotive Constant-Velocity-Joint Boot Products and

vehicles are designed to integrate with one another. An OEM designs a vehicle such that

Automotive Constant-Velocity-Joint Boot Products purchased for that vehicle integrate with the

other components of that particular model. It would be difficult for a new entrant to enter the

market after a vehicle has been specifically designed to integrate with particular Automotive

Constant-Velocity-Joint Boot Products. This contributes to the high barrier to entering the

Automotive Constant-Velocity-Joint Boot Products market.

       49.      Regarding inelasticity of demand, there is inelasticity of demand for Automotive

Constant-Velocity-Joint Boot Products. “Elasticity is a measure of a variable’s sensitivity to a




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change in another variable.”2 Price elasticity of demand is “a measure of the relationship

between a change in the quantity demanded of a particular good and a change in its price.”3 “If a

small change in price is accompanied by a large change in quantity demanded, the produce is

said to be elastic (or responsive to price changes). Conversely, a product is inelastic if a large

change in price is accompanied by a small amount of change in quantity demanded.”4

Customers who have no cheaper alternative for a product with inelastic demand are forced to

continue to purchase the product at higher prices. Thus, inelastic demand in a market facilitates

conspiring by allowing producers to raise their prices without fear of losing sales to other

substitute products (or customers not buying the product at all).

       50.      Demand for Automotive Constant-Velocity-Joint Boot Products is highly

inelastic. No close substitute products exist. Automotive Constant-Velocity-Joint Boot Products

are an essential part of every vehicle and must be purchased even if prices are raised.

             c. Government Investigations

       51.      As discussed above, government investigations into the rampant automotive parts

industry antitrust conspiracies are well documented. The DOJ continues to investigate the “price

fixing, bid rigging and other anticompetitive conduct in the automotive parts industry…A total of

65 individuals and 47 companies have been charged in the Antitrust Division’s investigations

into the automotive parts industry.”5 The DOJ has described the investigation as the largest

criminal investigation it has ever undertaken. The DOJ has thus far fined companies over $2.9




2
  http://www.investopedia.com/terms/e/elasticity.asp
3
  http://www.investopedia.com/terms/p/priceelasticity.asp
4
  Id.
5
  https://www.justice.gov/opa/pr/auto-parts-industry-executive-pleads-guilty-obstruction-justice.



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billion related to this investigation and sentenced dozens to jail terms.6

       52.     The DOJ’s investigation into illegal bid rigging and price fixing in the automotive

parts industry began as a part of a global effort including the European Union and Japan. In

February 2010 and in June 2010, the European Commission (“EC”) conducted raids on the

offices of several defendants. Also in February 2010, Japan’s Fair Trade Commission (“JFTC”)

raided the Tokyo offices of Furukawa Electric, Sumitomo Electric, and Yazaki Corporation,

seeking evidence of collusion in the industry. Finally, FBI investigators raided three Detroit-area

Japanese auto parts makers as part of a federal antitrust investigation.

       53.     To date, the DOJ’s criminal investigation of illegal price fixing and bid rigging in

the automotive parts industry has likewise resulted in the filing of criminal charges against

numerous automotive parts manufacturers. Criminal fines specifically related to the Automotive

Constant-Velocity-Joint Boot Products market include:

               a. On November 26, 2013, Toyo Tire & Rubber Co., LTD. agreed to plead guilty

                   to two counts of Conspiracy to Restrain Trade and agreed to pay a criminal

                   fine of $120 million for conspiring to rig bids, fix prices, and otherwise

                   restrain trade of anti-vibrational rubber parts and Automotive Constant-

                   Velocity-Joint Boot Products. According to the guilty plea, Toyo:

                        i. Participated in a conspiracy with other persons and another company
                           engaged in the manufacture and sale of Automotive Constant-
                           Velocity-Joint Boot Products to suppress and eliminate competition by
                           agreeing to allocate sales of, and to fix, raise, and maintain the prices
                           of, Automotive Constant-Velocity-Joint Boot Products sold to GKN in
                           the United States and elsewhere;

                       ii. Engaged in discussions and attended meetings with representatives of


6
  https://www.law360.com/foodbeverage/articles/885906/trends-to-watch-in-doj-cartel-
investigations-this-year.



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                          another company involved in the manufacture and sale of Automotive
                          Constant-Velocity-Joint Boot Products until 2008; and

                      iii. During such discussions and meetings, agreed to allocate sales of
                           Automotive Constant-Velocity-Joint Boot Products sold to GKN, and
                           to fix, raise, and maintain the prices, including coordinating price
                           adjustments submitted to GKN, of Automotive Constant-Velocity-
                           Joint Boot Products sold to GKN in the United States and elsewhere.

       54.     Dozens of additional companies and individuals have plead guilty to price fixing

in the broader automotive parts industry as a result of the DOJ’s investigations, including:

               a. On March 1, 2012, Yazaki Corporation plead guilty to three counts of

                   Conspiracy to Restrain Trade and agreed to pay a criminal fine of $470

                   million for conspiring to rig bids and fix prices of automotive wire harnesses,

                   instrument panel clusters, and fuel senders.

               b. On March 5, 2012, DENSO Corporation plead guilty to two counts of

                   Conspiracy to Restrain Trade and agreed to pay a criminal fine of $78 million

                   for conspiring to rig bids and fix prices of electrical control units and heater

                   control panels.

               c. On May 16, 2012, G. S. Electech, Inc. plead guilty to one count of Conspiracy

                   to Restrain Trade and agreed to pay a criminal fine of $2.75 million for

                   conspiring to rig bids and fix prices of speed sensor wire assemblies.

               d. On June 21, 2012, Fujikura LTD plead guilty to one count of Conspiracy to

                   Restrain Trade and agreed to pay a criminal fine of $20 million for conspiring

                   to rig bids and fix prices of automotive wire harnesses.

               e. On June 21, 2012, Autoliv, Inc. plead guilty to two counts of Conspiracy to

                   Restrain Trade and agreed to pay a criminal fine of $14.5 million for

                   conspiring to rig bids, fix prices, and otherwise restrain trade of seatbelts,



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                 airbags and steering wheels.

            f. On September 25, 2012, TRW Deutschland Holding GmbH plead guilty to

                 one count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

                 $5.1 million for conspiring to rig bids and fix prices of seatbelts, airbags and

                 steering wheels.

            g.   On November 8, 2012, Nippon Seiki Co., Ltd. plead guilty to one count of

                 Conspiracy to Restrain Trade and agreed to pay a criminal fine of $1 million

                 for conspiring to rig bids and fix prices of instrument panel clusters.

            h. On December 12, 2012, Tokai Rika Co. Ltd. plead guilty to one count of

                 Conspiracy to Restrain Trade and one count of Obstruction of Justice and

                 agreed to pay a criminal fine of $17.7 million for conspiring to rig bids and fix

                 prices of heater control panels.

            i. On July 2, 2013, Furukawa Electric Company, Ltd. plead guilty to one count

                 of Conspiracy to Restrain Trade and agreed to pay a criminal fine of $200

                 million for conspiring to rig bids and fix prices of automotive wire harnesses.

            j. On August 6, 2013, Panasonic Corporation plead guilty to three counts of

                 Conspiracy to Restrain Trade and agreed to pay a criminal fine of $45.8

                 million for conspiring to rig bids, fix prices, and otherwise restrain trade of

                 HID ballasts, switches, and steering angle sensors.

            k. On September 11, 2013, Diamond Electric Mfg. Co. Ltd. plead guilty to one

                 count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

                 $19 million for conspiring to rig bids, fix prices, and otherwise restrain trade

                 of ignition coils.




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            l. On October 21, 2013, Yamashita Rubber Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $11 million

               for conspiring to rig bids and fix prices of anti-vibrational rubber parts.

            m. On November 5, 2013, Valeo Japan Co., LTD. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $13.6

               million for conspiring to rig bids, fix prices, allocate customers, and otherwise

               restrain trade of air conditioning systems.

            n. On November 6, 2013, Mitsubishi Electric Corporation (“Mitsubishi”) plead

               guilty to one count of Conspiracy to Restrain Trade and agreed to pay a

               criminal fine of $190 million for conspiring to rig bids, fix prices, and

               otherwise restrain trade of starter motors, alternators, and ignition coils.

            o. On November 6, 2013, Mitsuba Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and one count of Obstruction of Justice and

               agreed to pay a criminal fine of $135 million for conspiring to rig bids, fix

               prices, allocate customers, and otherwise restrain trade of windshield washer

               and wiper systems, starter motors, power window motors, and fan motors.

            p. On November 7, 2013, Hitachi Automotive Systems, Ltd. plead guilty to one

               count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $195 million for conspiring to rig bids, fix prices, allocate customers, and

               otherwise restrain trade of starter motors, alternators, air flow meters, valve

               timing control devices, fuel injection systems, electronic throttle bodies,

               ignition coils, inverters, and motor generators.

            q. On November 13, 2013, T.RAD Co., Ltd. plead guilty to one count of




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               Conspiracy to Restrain Trade and one count of Obstruction of Justice and

               agreed to pay a criminal fine of $13.75 million for conspiring to rig bids, fix

               prices, allocate customers, and otherwise restrain trade of radiators and

               automatic transmission fluid warmers.

            r. On December 5, 2013, Takata Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $71.3

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               seatbelts.

            s. On January 23, 2014, Stanley Electric Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $1.44

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               HID ballasts.

            t. On February 11, 2014, Koito Manufacturing Co., Ltd. plead guilty to two

               counts of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $56.6 million for conspiring to rig bids, fix prices, and otherwise restrain trade

               of HID ballasts and lighting fixtures.

            u. On March 5, 2014 Aisan Industry Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $6.86

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               electronic throttle bodies.

            v. On April 20, 2014, Bridgestone Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $425

               million for conspiring to rig bids, allocate customers, and fix prices of anti-




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               vibrational rubber parts.

            w. On July 8, 2014, NSK Ltd. plead guilty to one count of Conspiracy to Restrain

               Trade and agreed to pay a criminal fine of $68.2 million for conspiring to rig

               bids, fix prices, allocate customers, and otherwise restrain trade of bearings.

            x. On July 9, 2014, JTEKT Corporation plead guilty to two counts of Conspiracy

               to Restrain Trade and agreed to pay a criminal fine of $103.27 million for

               conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

               trade of bearings and electric powered steering assemblies.

            y. On October 3, 2014, Riverside Seat Company, Woodbridge Foam Fabricating,

               Inc., and SW Foam LLC plead guilty to one count of Conspiracy to Restrain

               Trade and agreed to pay a criminal fine of $6,148,800 collectively for

               conspiring to fix prices and otherwise restrain trade of polyurethane foam.

            z. On October 8, 2014, NGK Spark Plug Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $52.1

               million for conspiring to rig bids, fix prices, allocate customers, and otherwise

               restrain trade of spark plugs, standard oxygen sensors, and air fuel ratio

               sensors.

            aa. On October 21, 2014, Showa Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $19.9

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               electronic power steering assemblies.

            bb. On December 16, 2014, Toyoda Gosei Co., LTD. plead guilty to two count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $26 million




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               for conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

               trade of certain automotive hoses, airbags, and steering wheels.

            cc. On January 23, 2015, Hitachi Metals, Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $1.25

               million for conspiring to rig bids, allocate customers, and fix prices of brake

               hoses.

            dd. On February 10, 2015, Aisin Seiki Co., LTD. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $35.8

               million for conspiring to rig bids, allocate customers, fix prices, and otherwise

               restrain trade of variable timing devices.

            ee. On April 1, 2015, Continental Automotive Electronics LLC plead guilty to

               one count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $4 million for conspiring to rig bids on instrument panel clusters.

            ff. On April 24, 2015, Minebea Co., LTD plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $13.5

               million for conspiring to fix prices and otherwise restrain trade on bearings.

            gg. On June 22, 2015, Robert Bosch GmbH plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $57.8

               million for conspiring to rig bids, fix prices, allocate customers, and otherwise

               restrain trade on spark plugs, oxygen sensors, and starter motors.

            hh. On June 24, 2015, Yamada Manufacturing Co. Ltd. plead guilty to one count

               of Conspiracy to Restrain Trade and agreed to pay a criminal fine of $2.5

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of




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               steering columns.

            ii. On November 2, 2015, Kayaba Industry Co LTD plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $62 million

               for conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

               trade of shock absorbers.

            jj. On November 16, 2015, NGK Insulators, Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $65.3

               million for conspiring to rig bids and fix prices of ceramic substrates for

               automotive catalytic converters.

            kk. On January 22, 2016, Inoac Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $2.35

               million for conspiring to rig bids, allocate customers, and fix prices plastic

               interior trim.

            ll. On May 17, 2016, Corning International Kabushiki Kaisha plead guilty to one

               count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $66.5 million for conspiring to rig bids, allocate customers, and fix prices of

               ceramic substrates for emission control systems.

            mm.    On June 13, 2016, Omron Automotive Electronics Co., Ltd. plead guilty to

               one count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $4.55 million for conspiring to rig bids on power window switches.

            nn. On September 1, 2016, Nishikawa Rubber Co., LTD. plead guilty to one

               count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $130 million for conspiring to rig bids, allocate customers, and fix prices on




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                    automotive body sealing products.

                 oo. On September 15, 2016, Alpha agreed to plead guilty to one count of

                    Conspiracy to Restrain Trade and agreed to pay a criminal fine of $9 million

                    for conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

                    trade of access mechanisms.

                 pp. On February 17, 2017, Hitachi Automotive Systems Ltd plead guilty to one

                    count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

                    $55.48 million for conspiring to rig bids, allocate customers, and fix prices on

                    shock absorbers.

         55.     The sprawling number of indictments and guilty pleas related to the global

conspiracy to rig bids and fix prices of various automotive parts is shocking.

   VI.         COMPETITIVE INJURY

         56.     Defendants’ conspiracy has harmed each Plaintiff. The cost of vehicles containing

Automotive Constant-Velocity-Joint Boot Products are supra-competitive because of

Defendants’ conduct. But for Defendants’ conspiracy, automobile dealers, including Plaintiffs,

would not have paid such supra-competitive, artificially inflated prices. Absent the supra-

competitive prices, Plaintiffs would be able to gain the benefits of competition as to Automotive

Constant-Velocity-Joint Boot Products, which would reduce the prices to a competitive level.

Instead, OEMs passed inflated prices from Defendants to Plaintiffs. Thus, Plaintiffs paid higher

prices for vehicles containing Automotive Constant-Velocity-Joint Boot Products than they

otherwise would have paid absent Defendants’ conspiracy and conduct.

         57.     Each Plaintiff absorbed a substantial portion of the overcharges that they paid due

to Defendants’ illegal activities. Plaintiffs did not pass on all overcharges caused by Defendants’




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illegal activities.

        58.      Automotive Constant-Velocity-Joint Boot Products are identifiable, discrete

physical products that remain essentially unchanged when incorporated into a vehicle. As a

result, Automotive Constant-Velocity-Joint Boot Products follow a traceable physical chain of

distribution from Defendants to Plaintiffs, and any costs attributable to Automotive Constant-

Velocity-Joint Boot Products can be traced through the chain of distribution to Plaintiffs.

        59.      The market for Automotive Constant-Velocity-Joint Boot Products and the

market for automobiles are inextricably linked and intertwined because the market for

Automotive Constant-Velocity-Joint Boot Products exists to serve the automobile market. As

antitrust scholars Professors Robert G. Harris (Professor Emeritus and former Chair of the

Business and Public Policy Group at the Haas School of Business at the University of California

at Berkeley) and the late Lawrence A. Sullivan (Professor of Law Emeritus at Southwestern Law

School and author of the Handbook of the Law of Antitrust) have recognized, “in a multiple

level chain of distribution, passing on monopoly overcharges is not the exception: it is the rule.”7

Without the automobiles, the Automotive Constant-Velocity-Joint Boot Products have little to no

value. The demand for automobiles creates the demand for Automotive Constant-Velocity-Joint

Boot Products. Thus, the artificially inflated prices of Automotive Constant-Velocity-Joint Boot

Products in new automobiles as a result of Defendants’ conspiracy have been passed to the

indirect-purchaser Plaintiffs.

        60.      Well-accepted economic models can quantify the specific overcharge impacting

the prices of motor vehicles containing Automotive Constant-Velocity-Joint Boot Products. For


7
  Robert G. Harris & Lawrence A. Sullivan, Passing on the Monopoly Overcharge: A
Comprehensive Policy Analysis, 128 U. Pa. L. Rev. 269, 276 (1979).




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example, economists use “regression analysis” to isolate and understand the relationship between

an “explanatory” variable and a “dependent” variable when numerous, changing variables exist.

Using regression analysis, it is possible to isolate and identify the impact of an increase in the

price of Automotive Constant-Velocity-Joint Boot Products (explanatory variable) on prices for

new motor vehicles (dependent variable) even though such products contain a number of other

components whose prices may be changing over time. Thus, the precise amount of overcharge

passed on to indirect purchasers as a result of Defendants’ unlawful conspiracy can be measured.

       61.     Defendants’ conspiracy restrained competition in the United States, including in

all states that permit the recovery of damages by indirect purchasers, and had substantial effects

on the commerce of the United States.

   VII.      DISCOVERY RULE AND FRAUDULENT CONCEALMENT

       62.     Plaintiffs had no knowledge of Defendants’ conduct and conspiracy, as alleged

herein, and had no reason to know of such conduct until, at the earliest, the DOJ’s public

announcement of Toyo’s anticipated guilty plea. Plaintiffs had no knowledge or reason to know

of the existence of the conspiracy prior to that date. Plaintiffs are automobile dealers who had no

direct contact or interaction with any of Defendants and no means to discover the conspiracy.

       63.     Defendants further took affirmative steps to conceal their misconduct.

Defendants kept their agreements, understandings and conspiracies secret.          A price-fixing

conspiracy such as this one is, by its very nature, secretive. As explained in Toyo’s guilty plea,

the conspirators concealed their activities from the authorities.

       64.     Plaintiffs could not have discovered the alleged conspiracy and conduct at an

earlier date by the exercise of reasonable diligence.

       65.     Thus, the discovery rule and Defendants’ fraudulent concealment have tolled the




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running of any applicable statutes of limitations.

       66.      Any applicable statutes of limitations as to Plaintiffs have been further tolled by

the pending class actions and other equitable tolling doctrines.

   VIII. CLAIMS

             a. Count 1 – Violation of Section 1 of the Sherman Act

       67.      Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       68.      Defendants and unnamed conspirators entered into and engaged in a contract,

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act (15 U.S.C. §1).

       69.      The acts done by each of Defendants as part of, and in furtherance of, their

contract, combination, or conspiracy were authorized, ordered, or done by their officers, agents,

employees, or representatives while actively engaged in the management of Defendants’ affairs.

       70.      At least as early as January 2006, and continuing through the present, the exact

dates being unknown to Plaintiffs, Defendants and their co-conspirators entered into a continuing

agreement, understanding and conspiracy in restraint of trade to rig bids for and to artificially fix,

raise, stabilize and control prices for Automotive Constant-Velocity-Joint Boot Products thereby

creating anticompetitive effects.

       71.      The anti-competitive acts were intentionally directed at the United States market

for Automotive Constant-Velocity-Joint Boot Products and had a substantial and foreseeable

effect on interstate commerce by raising and fixing prices for Automotive Constant-Velocity-

Joint Boot Products throughout the United States.

       72.      The conspiratorial acts and combinations have caused unreasonable restraints in

the market for Automotive Constant-Velocity-Joint Boot Products.




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          73.   As a result of Defendants’ and their co-conspirators’ unlawful conduct, Plaintiffs

have been harmed by purchasing Automotive Constant-Velocity-Joint Boot Products or vehicles

containing Automotive Constant-Velocity-Joint Boot Products manufactured by Defendants or

their co-conspirators by being forced to pay inflated, supra-competitive prices for such products.

          74.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and courses of conduct set forth

herein.

          75.   Defendants’ conspiracy had the following effects, among others:

                a. Price competition in the market for Automotive Constant-Velocity-Joint Boot
                   Products has been restrained, suppressed and/or eliminated in the United
                   States;

                b. Prices for Automotive Constant-Velocity-Joint Boot Products sold by
                   Defendants and their co-conspirators have been fixed, raised, maintained and
                   stabilized at artificially high, noncompetitive levels throughout the United
                   States; and

                c. Plaintiffs who purchased Automotive Constant-Velocity-Joint Boot Products,
                   or vehicles containing Automotive Constant-Velocity-Joint Boot Products
                   manufactured by Defendants and their co-conspirators have been deprived of
                   the benefits of free and open competition and have been forced to pay
                   artificially inflated prices for such products.

          76.   Plaintiffs have been injured and will continue to be injured in their business and

property by paying more for Automotive Constant-Velocity-Joint Boot Products or vehicles

containing Automotive Constant-Velocity-Joint Boot Products manufactured by Defendants and

their co-conspirators than they would have paid and will pay in the absence of the conspiracy.

          77.   The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.

          78.   Plaintiffs are entitled to an injunction against Defendants, pursuant to 15 U.S.C.



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§26, preventing and restraining the violations alleged herein.

             b. Count 2 – Violation of State Antitrust Statutes

       79.       Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       80.       From as early as January 2006 through the present, Defendants and their co-

conspirators engaged in a continuing contract, combination or conspiracy with respect to the sale

of Automotive Constant-Velocity-Joint Boot Products in an unreasonable restraint of trade and

commerce and in violation of the various state antitrust statutes set forth below.

       81.       The contract, combination, or conspiracy consisted of an agreement among the

Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain artificially

supra-competitive prices for Automotive Constant-Velocity-Joint Boot Products and to allocate

customers for Automotive Constant-Velocity-Joint Boot Products in the United States.

       82.       In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including:

                 a. Participating in meetings and conversations among themselves during which
                    they agreed to price Automotive Constant-Velocity-Joint Boot Products at
                    certain levels and otherwise to fix, increase, inflate, maintain, or stabilize
                    effective prices paid by Plaintiffs with respect to Automotive Constant-
                    Velocity-Joint Boot Products sold in the United States;

                 b. Allocating customers and markets and rigging bids for Automotive Constant-
                    Velocity-Joint Boot Products in the United States in furtherance of their
                    agreements; and

                 c. Participating in meetings and conversations among themselves to implement,
                    adhere to and police the unlawful agreements they reached.

       83.       Defendants and their co-conspirators engaged in the actions described above for

the purpose of carrying out their unlawful agreements to fix, maintain, decrease, or stabilize

prices, to rig bids and to allocate customers with respect to Automotive Constant-Velocity-Joint

Boot Products.



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        84.     The anti-competitive acts were intentionally directed at the market for

Automotive Constant-Velocity-Joint Boot Products in all states in which Plaintiffs do business

allowing indirect purchasers to collect damages and had a substantial and foreseeable effect on

intrastate commerce by raising and fixing prices for Automotive Constant-Velocity-Joint Boot

Products throughout those states.

        85.     Plaintiffs were deprived of free and open competition in all states, including all

states in which Plaintiffs do business allowing indirect purchasers to collect damages, and

Plaintiffs paid supra-competitive, artificially inflated prices for Automotive Constant-Velocity-

Joint Boot Products in all states in which Plaintiffs do business allowing indirect purchasers to

collect damages.

        86.     Defendants’ anticompetitive, unfair acts described above were knowing, willful

and constitute flagrant violations of the below-listed state antitrust statutes.

        87.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

                a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                    following effects: (1) Automotive Constant-Velocity-Joint Boot Products

                    price competition was restrained, suppressed, and eliminated throughout

                    Arizona; (2) Automotive Constant-Velocity-Joint Boot Products prices were

                    raised, fixed, maintained and stabilized at artificially high levels throughout

                    Arizona; (3) Plaintiffs were deprived of free and open competition; and (4)

                    Plaintiffs paid supra-competitive, artificially inflated prices for Automotive

                    Constant-Velocity-Joint Boot Products and vehicles containing Automotive

                    Constant-Velocity-Joint Boot Products.




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              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Arizona commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants entered into agreements in restraint of

                  trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq. Accordingly,

                  Plaintiffs seek all forms of relief available under Ariz. Rev. Stat. §§ 44-1401,

                  et seq.

       88.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the California Business and Professions Code, §§16700, et seq.

              a. During the Relevant Time Period, Defendants and their co-conspirators

                  entered into and engaged in a continuing unlawful trust in restraint of the trade

                  and commerce described above in violation of Section 16720, California

                  Business and Professions Code. Defendants, each of them, have acted in

                  violation of Section 16720 to fix, raise, stabilize, and maintain prices of, and

                  allocate markets for, Automotive Constant-Velocity-Joint Boot Products at

                  supra-competitive levels.

              b. The aforesaid violations of Section 16720, California Business and

                  Professions Code, consisted, without limitation, of a continuing unlawful trust

                  and concert of action among Defendants and their co-conspirators, the

                  substantial terms of which were to fix, raise, maintain, and stabilize the prices

                  of, and to allocate markets for, Automotive Constant-Velocity-Joint Boot




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               Products.

            c. For the purpose of forming and effectuating the unlawful trust, Defendants

               and their co-conspirators have done those things which they combined and

               conspired to do, including but in no way limited to the acts, practices and

               course of conduct set forth above and the following: (1) Fixing, raising,

               stabilizing, and pegging the price of Automotive Constant-Velocity-Joint Boot

               Products; and (2) Allocating among themselves the production of Automotive

               Constant-Velocity-Joint Boot Products.

            d. The combination and conspiracy alleged herein has had, inter alia, the

               following effects: (1) Price competition in the sale of Automotive Constant-

               Velocity-Joint Boot Products has been restrained, suppressed, and/or

               eliminated in the State of California; (2) Prices for Automotive Constant-

               Velocity-Joint Boot Products sold by Defendants and their co-conspirators

               have been fixed, raised, stabilized, and pegged at artificially high, non-

               competitive levels in the State of California and throughout the United States;

               and (3) those who purchased Automotive Constant-Velocity-Joint Boot

               Products or vehicles containing Automotive Constant-Velocity-Joint Boot

               Products manufactured by Defendants and their co-conspirators have been

               deprived of the benefit of free and open competition.

            e. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               have been injured in their business and property in that they paid more for

               Automotive Constant-Velocity-Joint Boot Products than they otherwise would

               have paid in the absence of Defendants’ unlawful conduct. As a result of




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                  Defendants’ violation of Section 16720 of the California Business and

                  Professions Code, Plaintiffs seek treble damages and their cost of suit,

                  including a reasonable attorney’s fee, pursuant to Section 16750(a) of the

                  California Business and Professions Code.

       89.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Kansas Statutes Annotated, §§ 50-101, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Constant-Velocity-Joint Boot Products

                  price competition was restrained, suppressed, and eliminated throughout

                  Kansas; (2) Automotive Constant-Velocity-Joint Boot Products prices were

                  raised, fixed, maintained and stabilized at artificially high levels throughout

                  Kansas; (3) Plaintiffs were deprived of free and open competition; and (4)

                  Plaintiffs paid supra-competitive, artificially inflated prices for Automotive

                  Constant-Velocity-Joint Boot Products and vehicles containing Automotive

                  Constant-Velocity-Joint Boot Products.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Kansas commerce.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

               d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq.

                  Accordingly, Plaintiffs all forms of relief available under Kansas Stat. Ann. §§




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                  50-101, et seq.

       90.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Mississippi Code Annotated §§ 75-21-1, et seq.

              a. Defendants ’and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Constant-Velocity-Joint Boot Products

                  price competition was restrained, suppressed, and eliminated throughout

                  Mississippi; (2) Automotive Constant-Velocity-Joint Boot Products prices

                  were raised, fixed, maintained and stabilized at artificially high levels

                  throughout Mississippi; (3) Plaintiffs, including those who resided in

                  Mississippi and/or purchased Automotive Constant-Velocity-Joint Boot

                  Products or vehicles in Mississippi, were deprived of free and open

                  competition, including in Mississippi, and (4) Plaintiffs, including those who

                  resided in Mississippi and/or purchased Automotive Constant-Velocity-Joint

                  Boot Products or vehicles in Mississippi, paid supra-competitive, artificially

                  inflated prices for Automotive Constant-Velocity-Joint Boot Products,

                  including in Mississippi.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Mississippi commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Mississippi Code Ann. § 75-21-1, et seq.




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                  Accordingly, Plaintiffs seek all relief available under Mississippi Code Ann. §

                  75-21-1, et seq.

       91.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Nebraska Revised Statutes §§ 59-801, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Constant-Velocity-Joint Boot Products

                  price competition was restrained, suppressed, and eliminated throughout

                  Nebraska; (2) Automotive Constant-Velocity-Joint Boot Products prices were

                  raised, fixed, maintained and stabilized at artificially high levels throughout

                  Nebraska; (3) Plaintiffs were deprived of free and open competition; and (4)

                  Plaintiffs and paid supra-competitive, artificially inflated prices for

                  Automotive Constant-Velocity-Joint Boot Products and vehicles containing

                  Automotive Constant-Velocity-Joint Boot Products.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Nebraska commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et seq.

                  Accordingly, Plaintiffs seek all relief available under Nebraska Revised

                  Statutes §§ 59-801, et seq.

       92.    Defendants have entered into an unlawful agreement in restraint of trade in




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violation of the New Hampshire Revised Statutes §§ 356:1, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Constant-Velocity-Joint Boot Products

                  price competition was restrained, suppressed, and eliminated throughout New

                  Hampshire; (2) Automotive Constant-Velocity-Joint Boot Products prices

                  were raised, fixed, maintained and stabilized at artificially high levels

                  throughout New Hampshire; (3) Plaintiffs were deprived of free and open

                  competition; and (4) Plaintiffs and paid supra-competitive, artificially inflated

                  prices for Automotive Constant-Velocity-Joint Boot Products and vehicles

                  containing Automotive Constant-Velocity-Joint Boot Products.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Hampshire commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of New Hampshire Revised Statutes §§ 356:1, et

                  seq. Accordingly, Plaintiffs seek all relief available under New Hampshire

                  Revised Statutes §§ 356:1, et seq.

       93.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Mexico Statutes Annotated §§ 57-1-1, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Constant-Velocity-Joint Boot Products




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                  price competition was restrained, suppressed, and eliminated throughout New

                  Mexico; (2) Automotive Constant-Velocity-Joint Boot Products prices were

                  raised, fixed, maintained and stabilized at artificially high levels throughout

                  New Mexico; (3) Plaintiffs were deprived of free and open competition; and

                  (4) Plaintiffs and paid supra-competitive, artificially inflated prices for

                  Automotive Constant-Velocity-Joint Boot Products and vehicles containing

                  Automotive Constant-Velocity-Joint Boot Products.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Mexico commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of New Mexico Statutes Annotated §§ 57-1-1, et

                  seq. Accordingly, Plaintiffs seek all relief available under New Mexico

                  Statutes Annotated §§ 57-1-1, et seq.

       94.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New York General Business Laws §§ 340, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Constant-Velocity-Joint Boot Products

                  price competition was restrained, suppressed, and eliminated throughout New

                  York; (2) Automotive Constant-Velocity-Joint Boot Products prices were

                  raised, fixed, maintained and stabilized at artificially high levels throughout




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               New York; (3) Plaintiffs, including those who resided in New York and/or

               purchased Automotive Constant-Velocity-Joint Boot Products or vehicles in

               New York, were deprived of free and open competition, including in New

               York; and (4) Plaintiffs, including those who resided in New York and/or

               purchased Automotive Constant-Velocity-Joint Boot Products or vehicles in

               New York, paid supra-competitive, artificially inflated prices for Automotive

               Constant-Velocity-Joint Boot Products when they purchased, including in

               New York, Automotive Constant-Velocity-Joint Boot Products or vehicles

               containing Automotive Constant-Velocity-Joint Boot Products, or purchased

               vehicles and Automotive Constant-Velocity-Joint Boot Products that were

               otherwise of lower quality than they would have been absent Defendants’ and

               their co-conspirators’ illegal acts, or were unable to purchase Automotive

               Constant-Velocity-Joint Boot Products or vehicles that they would have

               otherwise have purchased absent the illegal conduct.

            b. During the Relevant Time Period, Defendants’ illegal conduct substantially

               affected New York commerce.

            c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               have been injured in their business and property and are threatened with

               further injury.

            d. By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of the New York Donnelly Act, §§ 340, et seq.

               The conduct set forth above is a per se violation of the Act. Accordingly,

               Plaintiffs seek all relief available under New York Gen. Bus. Law §§ 340, et




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                   seq.

       95.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of the North Carolina General Statutes §§ 75-1, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                   following effects: (1) Automotive Constant-Velocity-Joint Boot Products

                   price competition was restrained, suppressed, and eliminated throughout

                   North Carolina; (2) Automotive Constant-Velocity-Joint Boot Products prices

                   were raised, fixed, maintained and stabilized at artificially high levels

                   throughout North Carolina; (3) Plaintiffs, including those who resided in

                   North Carolina and/or purchased Automotive Constant-Velocity-Joint Boot

                   Products or vehicles in North Carolina, were deprived of free and open

                   competition, including in North Carolina; and (4) Plaintiffs, including those

                   who resided in North Carolina and/or purchased Automotive Constant-

                   Velocity-Joint Boot Products or vehicles in North Carolina, paid supra-

                   competitive, artificially inflated prices for Automotive Constant-Velocity-

                   Joint Boot Products and vehicles containing Automotive Constant-Velocity-

                   Joint Boot Products, including in North Carolina.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected North Carolina commerce.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                   have been injured in their business and property and are threatened with

                   further injury.

               d. By reason of the foregoing, Defendants have entered into agreements in




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                  restraint of trade in violation of North Carolina General Statutes §§ 75-1, et

                  seq. Accordingly, Plaintiffs seek all relief available under North Carolina

                  General Statutes §§ 75-1, et seq.

       96.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Oregon Revised Statutes §§ 646.705, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Constant-Velocity-Joint Boot Products

                  price competition was restrained, suppressed, and eliminated throughout

                  Oregon (2) Automotive Constant-Velocity-Joint Boot Products prices were

                  raised, fixed, maintained and stabilized at artificially high levels throughout

                  Oregon; (3) Plaintiffs were deprived of free and open competition; and (4)

                  Plaintiffs and paid supra-competitive, artificially inflated prices for

                  Automotive Constant-Velocity-Joint Boot Products and vehicles containing

                  Automotive Constant-Velocity-Joint Boot Products.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Oregon commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Oregon Revised Statutes §§ 646.705, et seq.

                  Accordingly, Plaintiffs seek all relief available under Oregon Revised Statutes

                  §§ 646.705, et seq.




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       97.    Specifically, Plaintiff Group 1 Automotive brings claims pursuant to the state

statutes as set forth above against Defendants for the following states: California, Florida,

Kansas, Mississippi, New Hampshire, New Mexico, New York, South Carolina.

       98.    Plaintiff Asbury Automotive brings claims pursuant to the state statutes as set

forth above against Defendants for the following states: Arkansas, California, Florida,

Mississippi, North Carolina, Oregon, South Carolina.

       99.    Plaintiff VTG Automotive brings claims pursuant to the state statutes as set forth

above against Defendants for the following states: Arizona, Florida, California, Nebraska, New

Mexico.

       100.   Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring claims

pursuant to the New York statutes set forth above against Defendants.

       101.   Plaintiffs, having purchased new automobiles containing Automotive Constant-

Velocity-Joint Boot Products and/or replacement parts for Automotive Constant-Velocity-Joint

Boot Products in the above states, as set forth in Paragraphs 79-100 supra have been injured in

their business and property by reason of Defendants’ unlawful combination, contract, conspiracy

and agreement. Plaintiffs have paid more for Automotive Constant-Velocity-Joint Boot Products

or vehicles containing Automotive Constant-Velocity-Joint Boot Products than they otherwise

would have paid in the absence of Defendants’ unlawful conduct. This injury is of the type the

antitrust laws of the above states were designed to prevent and flows from Defendants’ unlawful

conduct.

       102.   Defendants’ violations of the above-listed state laws, as set forth in Paragraphs

79-100 supra have proximately caused the injuries sustained by Plaintiffs.

       103.   In addition, Defendants have profited significantly from the aforesaid conspiracy.




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Defendants’ profits derived from their anticompetitive conduct some at the expense and

detriment of Plaintiffs.

       104.    Accordingly, Plaintiffs seek damages (including statutory damages where

applicable), to be trebled or otherwise increased as permitted by a particular jurisdiction’s

antitrust or consumer protection law, and costs of suit, including reasonable attorneys’ fees, to

the extent permitted by the above state laws.

           c. Count 3 – Violation of State Law Consumer Protection Statutes

       105.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       106.    Defendants knowingly engaged in unfair competition or unfair, unconscionable,

deceptive, or fraudulent acts or practices in violation of the state consumer protection and unfair

competition statutes listed below.

       107.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Arkansas Code Annotated, § 4-88-101.

               a. Defendants knowingly agreed to, and did in fact act in, restraint of trade or

                   commerce by affecting, fixing, controlling, and/or maintaining at non-

                   competitive and artificially inflated levels, the prices at which Automotive

                   Constant-Velocity-Joint Boot Products were sold, distributed, or obtained in

                   Arkansas and took efforts to conceal their agreements from Plaintiffs.

               b. The aforementioned conduct on the part of Defendants constituted

                   “unconscionable” and “deceptive” acts or practices in violation of Arkansas

                   Code Annotated, § 4-88-107(a)(10).

               c. Defendants’ unlawful conduct had the following effects: (1) Automotive

                   Constant-Velocity-Joint Boot Products price competition was restrained,




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                   suppressed, and eliminated throughout Arkansas; (2) Automotive Constant-

                   Velocity-Joint Boot Products prices were raised, fixed, maintained, and

                   stabilized at artificially high levels throughout Arkansas; (3) Plaintiffs were

                   deprived of free and open competition; and (4) Plaintiffs paid supra-

                   competitive, artificially inflated prices for Automotive Constant-Velocity-

                   Joint Boot Products and vehicles containing Automotive Constant-Velocity-

                   Joint Boot Products.

              d. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected Arkansas commerce and consumers.

              e. As a direct and proximate result of the unlawful conduct of Defendants, have

                   been injured in their business and property and are threatened with further

                   injury.

              f. Defendants have engaged in unfair competition or unfair or deceptive acts or

                   practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10) and,

                   accordingly, Plaintiffs seek all relief available under that statute.

       108.   The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the California Business and Professions Code,

§§17200, et seq.

              a. During the Relevant Time Period, Defendants committed and continue to

                   commit acts of unfair competition, as defined by Sections 17200, et seq. of the

                   California Business and Professions Code, by engaging in the acts and

                   practices specified above.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially




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               affected California commerce and consumers.

            c. This claim is instituted pursuant to Sections 17203 and 17204 of the

               California Business and Professions Code, to obtain restitution from

               Defendants for acts, as alleged herein, that violated Section 17200 of the

               California Business and Professions Code, commonly known as the Unfair

               Competition Law.

            d. Defendants’ conduct as alleged herein violated Section 17200. The acts,

               omissions, misrepresentations, practices and non-disclosures of Defendants, as

               alleged herein, constituted a common, continuous, and continuing course of

               conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

               business acts or practices within the meaning of California Business and

               Professions Code, Section 17200, et seq., including, but not limited to, the

               following: (1) the violations of Section 1 of the Sherman Act, as set forth

               above; (2) the violations of Section 16720, et seq., of the California Business

               and Professions Code, set forth above;

            e. Defendants’     acts,     omissions,     misrepresentations,   practices,   and

               nondisclosures, as described above, whether or not in violation of Section

               16720, et seq., of the California Business and Professions Code, and whether

               or not concerted or independent acts, are otherwise unfair, unconscionable,

               unlawful or fraudulent;

            f. Defendants’ acts or practices are unfair to purchasers of Automotive Constant-

               Velocity-Joint Boot Products (or vehicles containing them) in the State of

               California within the meaning of Section 17200, California Business and




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               Professions Code; and

            g. Defendants’ unlawful conduct had the following effects: (1) Automotive

               Constant-Velocity-Joint Boot Products price competition was restrained,

               suppressed, and eliminated throughout California; (2) Automotive Constant-

               Velocity-Joint Boot Products prices were raised, fixed, maintained, and

               stabilized at artificially high levels throughout California; (3) Plaintiffs,

               including those who resided in California and/ or purchased Automotive

               Constant-Velocity-Joint Boot Products or vehicles in California, were

               deprived of free and open competition, including in California; and (4)

               Plaintiffs, including those who resided in California and/or purchased

               Automotive Constant-Velocity-Joint Boot Products or vehicles in California,

               paid supra-competitive, artificially inflated prices for Automotive Constant-

               Velocity-Joint Boot Products and vehicles containing Automotive Constant-

               Velocity-Joint Boot Products, including in California.

            h. Defendants’ acts and practices are fraudulent or deceptive within the meaning

               of Section 17200 of the California Business and Professions Code.

            i. Plaintiffs are entitled to full restitution and/or disgorgement of all revenues,

               earnings, profits, compensation, and benefits that may have been obtained by

               Defendants as a result of such business acts or practices.

            j. The illegal conduct alleged herein is continuing and there is no indication that

               Defendants will not continue such activity into the future.

            k. As alleged in this Complaint, Defendants and their co-conspirators have been

               unjustly enriched as a result of their wrongful conduct and by Defendants’




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                   unfair competition. Plaintiffs are accordingly entitled to equitable relief

                   including restitution and/or disgorgement of all revenues, earnings, profits,

                   compensation, and benefits that may have been obtained by Defendants as a

                   result of such business practices, pursuant to the California Business and

                   Professions Code, Sections 17203 and 17204.

       109.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

Fla. Stat. §§501.201, et seq.

               a. Defendants’ unlawful conduct had the following effects: (1) Automotive

                   Constant-Velocity-Joint Boot Products price competition was restrained,

                   suppressed, and eliminated throughout Florida; (2) Automotive Constant-

                   Velocity-Joint Boot Products prices were raised, fixed, maintained, and

                   stabilized at artificially high levels throughout Florida; (3) Plaintiffs were

                   deprived of free and open petition; (4) Plaintiffs paid supra-competitive,

                   artificially inflated prices for Automotive Constant-Velocity-Joint Boot

                   Products.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected Florida commerce and purchasers of Automotive Constant-Velocity-

                   Joint Boot Products and vehicles in Florida.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                   have been injured and are threatened with further injury.




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               d. Defendants have engaged in unfair competition or unfair or deceptive acts or

                   practices in violation of Florida Stat. § 501.201, et seq., and, accordingly,

                   Plaintiffs seek all relief available under that statute.

       110.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the New Mexico Stat. § 57-12-1, et seq.

               a. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

                   of trade or commerce by affecting, fixing, controlling and/or maintaining at

                   noncompetitive and artificially inflated levels, the prices at which Automotive

                   Constant-Velocity-Joint Boot Products were sold, distributed or obtained in

                   New Mexico and took efforts to conceal their agreements from Plaintiffs.

               b. Plaintiffs were not aware of Defendants’ price-fixing conspiracy and were

                   therefore unaware that they were being unfairly and illegally overcharged.

                   There was a gross disparity of bargaining power between the parties with

                   respect to the price charged by Defendants for Automotive Constant-Velocity-

                   Joint Boot Products. Defendants had the sole power to set that price and

                   Plaintiffs had no power to negotiate a lower price. Moreover, Plaintiffs lacked

                   any meaningful choice in purchasing Automotive Constant-Velocity-Joint

                   Boot Products because they were unaware of the unlawful overcharge and

                   because they had to purchase Automotive Constant-Velocity-Joint Boot

                   Products in order to be able to operate their vehicles. Defendants’ conduct

                   with regard to sales of Automotive Constant-Velocity-Joint Boot Products,

                   including their illegal conspiracy to secretly fix the price of Automotive

                   Constant-Velocity-Joint Boot Products at supra-competitive levels and




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               overcharge consumers, was substantively unconscionable because it was one-

               sided and unfairly benefited Defendants at the expense of Plaintiffs and the

               public. Defendants took grossly unfair advantage of Plaintiffs.

            c. The aforementioned conduct on the part of Defendants constituted

               “unconscionable trade practices,” in violation of N.M.S.A. Stat. § 57-12-3, in

               that such conduct, inter alia, resulted in a gross disparity between the value

               received by Plaintiffs and the prices paid by them for Automotive Constant-

               Velocity-Joint Boot Products as set forth in N.M.S.A., § 57-12-2E, due to the

               inflated prices paid by Plaintiffs for vehicles and Automotive Constant-

               Velocity-Joint Boot Products.

            d. Defendants’ unlawful conduct had the following effects: (1) Automotive

               Constant-Velocity-Joint Boot Products price competition was restrained,

               suppressed, and eliminated throughout New Mexico; (2) Automotive

               Constant-Velocity-Joint Boot Products prices were raised, fixed, maintained,

               and stabilized at artificially high levels throughout New Mexico; (3) Plaintiffs

               were deprived of free and open competition; and (4) Plaintiffs paid supra-

               competitive, artificially inflated prices for Automotive Constant-Velocity-

               Joint Boot Products and vehicles containing Automotive Constant-Velocity-

               Joint Boot Products.

            e. During the Relevant Time Period, Defendants’ illegal conduct substantially

               affected New Mexico commerce and consumers.

            f. As a direct and proximate result of the unlawful conduct of Defendants,

               Plaintiffs have been injured and are threatened with further injury.




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               g. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of New Mexico Stat. § 57-12-1, et seq., and,

                  accordingly, Plaintiffs seek all relief available under that statute.

       111.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.

               a. The Defendants and their co-conspirators agree to, and did in fact, act in

                  restraint of trade or commerce by affecting, fixing, controlling and/or

                  maintaining, at artificial and non-competitive levels, the prices at which

                  Automotive Constant-Velocity-Joint Boot Products were sold, distributed or

                  obtained in New York and took efforts to conceal their agreements from

                  Plaintiffs.

               b. Defendants deceptively led purchasers, such as Plaintiffs, to believe that the

                  Automotive Constant-Velocity-Joint Boot Products they had purchased as

                  replacements and inside vehicles had been sold at legal competitive prices,

                  when they had in fact been sold at collusively obtained inflated prices, that

                  were passed on to them.

               c. The conduct of the Defendants described herein constitutes consumer oriented

                  deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349,

                  which resulted in injuries to purchasers and broad adverse impact on the

                  public at large, and harmed the public interest of New York State in an honest

                  marketplace in which economic activity is conducted in a competitive manner.

               d. The Defendants’ unlawful conduct had the following effects: (1) Automotive

                  Constant-Velocity-Joint Boot Products price competition was restrained,




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               suppressed, and eliminated throughout New York; (2) Automotive Constant-

               Velocity-Joint Boot Products prices were raised, fixed, maintained, and

               stabilized at artificially high levels throughout New York; (3) Plaintiffs,

               including those who resided in New York and/or purchased Automotive

               Constant-Velocity-Joint Boot Products or vehicles in New York, were

               deprived of free and open competition, including in New York; and

               (4) Plaintiffs, including those who resided in New York and/or purchased

               Automotive Constant-Velocity-Joint Boot Products or vehicles in New York,

               paid supra-competitive, artificially inflated prices for Automotive Constant-

               Velocity-Joint Boot Products, including in New York.

            e. Because of Defendants' unlawful trade practices in the State of New York,

               New York purchasers who indirectly purchased Automotive Constant-

               Velocity-Joint Boot Products were misled to believe that they were paying a

               fair price for Automotive Constant-Velocity-Joint Boot Products or the price

               increases for Automotive Constant-Velocity-Joint Boot Products were for

               valid business reasons; and similarly situated purchasers were affected by

               Defendants’ conspiracy.

            f. During the Relevant Time Period, the Defendants’ illegal conduct

               substantially affected New York commerce and New York purchasers.

            g. During the Relevant Time Period, the Defendants directly, or indirectly and

               through affiliates they dominated and controlled, manufactured, sold and/or

               distributed Automotive Constant-Velocity-Joint Boot Products in New York.




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               h. Defendants knew that their unlawful trade practices with respect to pricing

                   Automotive Constant-Velocity-Joint Boot Products would have a broad

                   impact, causing Plaintiffs who indirectly purchased Automotive Constant-

                   Velocity-Joint Boot Products to be injured by paying more for Automotive

                   Constant-Velocity-Joint Boot Products than they would have paid in the

                   absence of Defendants’ unlawful trade acts and practices.

               i. Plaintiffs seek all relief available pursuant to N.Y. Gen. Bus. Law § 349 (h).

       112.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq.

               a. The Defendants and their co-conspirators agreed to, and did in fact, act in

                   restraint of trade or commerce by affecting, fixing, controlling and/or

                   maintaining, at artificial and non-competitive levels, the prices at which

                   Automotive Constant-Velocity-Joint Boot Products were sold, distributed or

                   obtained in North Carolina and took efforts to conceal their agreements from

                   Plaintiffs.

               b. The conduct of the Defendants described herein constitutes consumer oriented

                   deceptive acts or practices within the meaning of North Carolina law, which

                   resulted in injury to purchasers and broad adverse impact on the public at

                   large, and harmed the public interest of North Carolina purchasers in an

                   honest marketplace in which economic activity is conducted in a competitive

                   manner.

               c. The Defendants’ unlawful conduct had the following effects: (1) Automotive

                   Constant-Velocity-Joint Boot Products price competition was restrained,




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               suppressed, and eliminated throughout North Carolina; (2) Automotive

               Constant-Velocity-Joint Boot Products prices were raised, fixed, maintained,

               and stabilized at artificially high levels throughout North Carolina;

               (3) Plaintiffs, including those who resided in North Carolina and/or purchased

               Automotive Constant-Velocity-Joint Boot Products or vehicles in North

               Carolina were deprived of free and open competition, including in North

               Carolina; and (4) Plaintiffs, including those who resided in North Carolina

               and/or purchased Automotive Constant-Velocity-Joint Boot Products or

               vehicles in North Carolina, paid supra-competitive, artificially inflated prices

               for Automotive Constant-Velocity-Joint Boot Products, including in North

               Carolina.

            d. During the Relevant Time Period, the Defendants’ illegal conduct

               substantially affected North Carolina commerce and purchasers in North

               Carolina.

            e. Defendants deceptively concealed their unlawful activities by conducting

               meetings and conversations in secret.

            f. During the Relevant Time Period, the Defendants directly, or indirectly and

               through affiliates they dominated and controlled, manufactured, sold and/or

               distributed Automotive Constant-Velocity-Joint Boot Products in North

               Carolina.

            g. Plaintiffs seek actual damages for their injuries caused by these violations in

               an amount to be determined at trial and are threatened with further injury. The

               Defendants have engaged in unfair competition or unfair or deceptive acts or




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                  practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq., and,

                  accordingly, Plaintiffs seek all relief available under that statute.

       113.   The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the South Carolina Unfair Trade Practices Act, S.C.

Code Ann. §§ 39-5-10, et seq.

              a. Defendants’ combinations or conspiracies had the following effects:

                  (1) Automotive Constant-Velocity-Joint Boot Products price competition was

                  restrained,   suppressed,     and   eliminated     throughout    South   Carolina;

                  (2) Automotive Constant-Velocity-Joint Boot Products prices were raised,

                  fixed, maintained, and stabilized at artificially high levels throughout South

                  Carolina; (3) Plaintiffs were deprived of free and open competition; and

                  (4) Plaintiffs paid supra-competitive, artificially inflated prices Automotive

                  Constant-Velocity-Joint Boot Products and vehicles containing Automotive

                  Constant-Velocity-Joint Boot Products.

              b. During the Relevant Time Period, Defendants’ illegal conduct had a

                  substantial effect on South Carolina commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of S.C. Code Ann. §§ 39-5-10, et seq., and, accordingly,

                  Plaintiffs seek all relief available under that statute.

       114.   Specifically, Plaintiff Group 1 Automotive brings claims pursuant to the state




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statutes as set forth above against Defendants for the following states: California, Florida, New

Mexico, New York, and South Carolina.

       115.    Plaintiff Asbury Automotive brings claims pursuant to the state statutes as set

forth above against Defendants for the following states: Arkansas, California, Florida, North

Carolina, and South Carolina.

       116.    Plaintiff VTG brings claims pursuant to the state statutes as set forth above

against Defendants for the following states: Florida, California, and New Mexico.

       117.    Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring claims

pursuant to the New York statutes set forth above against Defendants.

           d. Count 4 – Unjust Enrichment

       118.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       119.    Plaintiffs Group 1 Automotive, Asbury Automotive, and VTG bring this claim

under the laws of all states listed in Count 2 and Count 3 supra, except California. Plaintiff

Group 1 Automotive also brings this claim under the laws of Massachusetts. Plaintiff Asbury

Automotive also brings this claim under the laws of Missouri. Plaintiff VTG also brings this

claim under the laws of Missouri and Illinois.

       120.    Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring this claim

under the laws of New York.

       121.    As a result of their unlawful conduct described above, Defendant have and will

continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

minimum, unlawfully inflated prices and unlawful profits on sales of Automotive Constant-

Velocity-Joint Boot Products.

       122.    Defendants have benefited from their unlawful acts and it would be inequitable




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for Defendants to be permitted to retain any of the ill-gotten gains resulting from the

overpayments made by Plaintiffs for Automotive Constant-Velocity-Joint Boot Products.

       123.     Plaintiffs are entitled to the amount of Defendants’ ill-gotten gains resulting

from their unlawful, unjust, and inequitable conduct.

       124.    Pursuit of any remedies against the OEMs from whom Plaintiffs purchased

vehicles containing Automotive Constant-Velocity-Joint Boot Products would have been futile,

given that those OEMs did not take part in Defendants’ conspiracy.

   IX. DEMAND FOR JURY TRIAL

       125.    Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand that, at the trial of this cause,

a jury be empaneled to determine all disputed issues of fact.

   X. PRAYER

       WHEREFORE, Plaintiffs pray for relief and judgment as follows:

               1. An injunction against Defendants, pursuant to 15 U.S.C. §26, preventing and

                   restraining the violations alleged herein;

               2. Judgment in favor of each Plaintiff and against each Defendant, in an amount

                   to be determined at trial including, but not limited to, compensatory damages,

                   trebled damages, and pre-judgment and post-judgment interest, as permitted

                   by law;

               3. Restitution, including disgorgement of profits Defendants obtained as a result

                   of their acts of unfair competition and unjust enrichment;

               4. An award of the cost of the suit, including a reasonable attorney's fee; and

               5. Such other and further relief as the Court deems just, equitable, and proper.




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DATED: May 20, 2020.                      Respectfully submitted,

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